     Case: 2:21-cv-00072-DLB-CJS Doc #: 52-4 Filed: 12/11/23 Page: 1 of 4 - Page ID#: 420

                                             COMMONWEALTH VS. CUNDIFF, JEFFERY BRUCE
                                                 KENTON DISTRICT COURT
                                                 Filed on 10/04/2018 as FELONY with HON. KEN EASTERLING
                                                 Disposition on 02/12/2019 by HON. KEN EASTERLING
                    18-F-01796
                                                 **** NOT AN OFFICIAL COURT RECORD ****


    Case Memo                                                                                                    18-F-01796

      ARRSTDT = 09/27/2018 DEF SERVED WITH WARRANT BUT NOT IN KENTON COUNTY, STATUS DATE IS TO TRACK ONLY AND IS NOT AN
      ACTUAL COURT DATE ORTIME


    Parties                                                                                                      18-F-01796

      CUNDIFF, JEFFERY BRUCE as DEFENDANT / RESPONDENT
       DOB: 10/07/1986 DLN: C04060040 OPERATOR'S LICENSE - KENTUCKY Race: W Sex: M Hispanic: N Eye Color: BE Hair Color: BN
       Height: 505 Weight: 160

       Bail Bonds
            CASH for $603.00 set on 03/18/2022
            CASH for $2,500.00 set on 12/05/2018

       Address
            4069 EUREKA ST
            COVINGTON KY 41015


      YOCUM, R, as COMPLAINING WITNESS
      Public Defender as ATTORNEY-PUBLIC ADVOCATE
      SCHUBERT, DAN as ATTORNEY-PUBLIC ADVOCATE

       Memo
            FOR ASHLEY GRAHAM



    Charges                                                                                                      18-F-01796

      BURGLARY, 2ND DEGREE - 511.030
        CHARGE 1 ORIGINAL 0220610
        Charged on 09/18/2018 by citation 8CX013663-1

        AMENDED DOWN BY CIRCUIT COURT Disposition on 02/07/2019 by NO TRIAL
        BOGJ

      *OBS* TBUT OR DISP ALL OTHERS U/$500 - 514.030(2)
        CHARGE 1 AMENDED 0239150
        Charged on 02/07/2019 by citation 8CX013663-1

        GUILTY Disposition on 02/12/2019 by NO TRIAL
        BOGJ 1-3-19 716013 MISD INFORM FILED
        Sentenced on 02/12/2019 cost amount of $144.00
        JAIL: 12 mos ( 12 mos Conditional)
        08/12/22 REMIT COSTS. RESTITUTION DEEMED UNCOLLECTABLE
        CD 2 YEARS
        OTHER - NCWV
        RESTITUTION - 600.00 TO CHRIS BYRD

      CONTEMPT OF COURT - 432.280
        CHARGE 2 ORIGINAL 0026480
        Charged on 08/05/2019 by citation 9DE335093-1

        DISMISSED DEFERRED PROSECUTION Disposition on 08/05/2019 by NO TRIAL

      CONTEMPT OF COURT - 432.280
        CHARGE 3 ORIGINAL 0026480
        Charged on 03/31/2022 by citation 2DZ841903-1

        DISMISSAL BY MOTION OF PROSECUTOR Disposition on 08/12/2022 by NO TRIAL




                                                                                                     EXHIBIT 4
12/7/2023                                                       84997-7                                                       1
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    Documents                                                                                                     18-F-01796

      ORDER TO TRANSPORT entered on 12/04/2018
        DEF FORM CCDC TO KCJC FOR ARR ON 12/5/18 THEN BACK TO CCDC.SIGNED BY JUD EASTERLINGCOPIES DISTRIBU TED

      ORDER APPOINTING PUBLIC ADVOCATE entered on 12/05/2018

      CRIMINAL DOCKET filed on 12/05/2018
        COMM ATTY TO DO TRANSPORT ORDER

      CRIMINAL DOCKET filed on 12/11/2018
        PD OFFICE TO DO TRANSPORT ORDER

      ORDER TO TRANSPORT entered on 12/12/2018
        DEF FROM CCDC TO KCJC ON 12/13/18 FOR A PH. AT CONCLUSING OF CT DEF SHALL BE TRANSPORTED BAC K TO CCDC. FAXED TO
        CCDC, SENT TO KCS, PDEF, AND COMM ATTY.

      CRIMINAL DOCKET filed on 12/13/2018
        PD TO DO TRANSPORT ORDER

      ORDER TO TRANSPORT entered on 12/21/2018
        DEF FROM CCDC TO KCJC ON 1/3/19@1: 30 THEN BACK TO CCDCSIGNEED BY J UDGE EASTERLINGCOPIES DISTRIBUTE D

      ORDER TO TRANSPORT entered on 02/07/2019
        KCSD TO TRANSPORT FROM CCDC TO KCJC ON 2/12/19 AT 130PM 1A AND TO RETURN DEF UPON COURT COMPLETION. FAXED TO KCSD,
        CCDC, KCDC AND COPIESTO COMM ATTY AND PUBLIC DEF OFFIC E

      INFORMATION filed on 02/07/2019

      CLAIM OF RESTITUTION filed on 02/12/2019

      CRIMINAL DOCKET filed on 07/05/2019

      CRIMINAL DOCKET filed on 08/05/2019

      CRIMINAL DOCKET filed on 12/16/2019

      CRIMINAL DOCKET filed on 02/21/2020

      COURT NOTICE filed on 03/18/2020

      COURT NOTICE filed on 04/09/2020

      MAIL RETURNED UNDELIVERED filed on 04/17/2020
        COURT NOTICE

      COURT NOTICE filed on 05/12/2020

      COURT NOTICE filed on 01/03/2021

      COURT NOTICE filed on 01/04/2021

      COURT NOTICE filed on 03/31/2021

      CRIMINAL DOCKET filed on 08/20/2021

      CRIMINAL DOCKET filed on 10/01/2021

      CRIMINAL DOCKET filed on 11/12/2021

      CRIMINAL DOCKET filed on 01/14/2022

      CRIMINAL DOCKET filed on 03/18/2022

      CRIMINAL DOCKET filed on 03/31/2022

      CRIMINAL DOCKET filed on 04/04/2022

      CRIMINAL DOCKET filed on 08/12/2022
        REMIT COST. RESTITUTION DEEMED UNCOLLECTABLE


    Events                                                                                                        18-F-01796

      SHOW CAUSE DEFERRED/INSTALLMENT PAYMENT scheduled for 08/12/2022 09:30 AM in room 1A with HON. KEN EASTERLING
        FTA 07/05/19, 03/18/22 INCLUDES REST.

      ARRAIGNMENT scheduled for 04/04/2022 08:31 AM in room 1A with HON. KEN EASTERLING
        4/4/2022 8:31:00 AM TRANSFERRED TO 8/12/2022 9:30:00 AM COURTROOM 1A [1A] HON. KEN EASTERLING

      ARRAIGNMENT scheduled for 03/31/2022 08:31 AM in room 1A with HON. ANN RUTTLE
        3/31/2022 8:31:00 AM CONTINUED TO 4/4/2022 8:31:00 AM COURTROOM 1A [ 1A] HON. KEN EASTERLING




12/7/2023                                                   84997-7                                                            2
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      SHOW CAUSE DEFERRED/INSTALLMENT PAYMENT scheduled for 03/18/2022 09:30 AM in room 1A with HON. KEN EASTERLING
        (INCLUDES REST)

      SHOW CAUSE DEFERRED/INSTALLMENT PAYMENT scheduled for 01/14/2022 09:30 AM in room 1A with HON. KEN EASTERLING
        1/14/2022 9:30:00 AM TRANSFERRED TO 3/18/2022 9:30:00 AM COURTROOM 1A [1A] HON. KEN EASTERLING

      SHOW CAUSE DEFERRED/INSTALLMENT PAYMENT scheduled for 11/12/2021 09:30 AM in room 1A with HON. KEN EASTERLING
        11/12/2021 9:30:00 AM CONTINUED TO 1/14/2022 9:30:00 AM COURTROOM 1A [1A] HON. KEN EASTERLING

      SHOW CAUSE DEFERRED/INSTALLMENT PAYMENT scheduled for 10/01/2021 09:30 AM in room 1A with HON. KEN EASTERLING
        10/1/2021 9:30:00 AM TRANSFERRED TO 11/12/2021 9:30:00 AM COURTROOM 1A [1A] HON. KEN EASTERLING

      SHOW CAUSE DEFERRED/INSTALLMENT PAYMENT scheduled for 08/20/2021 09:30 AM in room 1A with HON. KEN EASTERLING
        8/20/2021 9:30:00 AM TRANSFERRED TO 10/1/2021 9:30:00 AM COURTROOM 1A [1A] HON. KEN EASTERLING

      SHOW CAUSE DEFERRED/INSTALLMENT PAYMENT scheduled for 02/21/2020 09:30 AM in room 1A with HON. KEN EASTERLING
        2/21/2020 9:30:00 AM TRANSFERRED TO 4/3/2020 9:30:00 AM COURTROOM 1A [1A] HON. KEN EASTERLING

      SHOW CAUSE DEFERRED/INSTALLMENT PAYMENT scheduled for 12/16/2019 09:30 AM in room 1A with HON. KEN EASTERLING
        12/16/2019 9:30:00 AM TRANSFERRED TO 2/21/2020 9:30:00 AM COURTROOM 1A [1A] HON. KEN EASTERLING

      ARRAIGNMENT scheduled for 08/05/2019 08:31 AM in room 1A with HON. ANN RUTTLE
        8/5/2019 8:31:00 AM TRANSFERRED TO 12/16/2019 9:30:00 AM COURTROOM 1A [1A] HON. KEN EASTERLING

      SHOW CAUSE DEFERRED/INSTALLMENT PAYMENT scheduled for 07/05/2019 09:30 AM in room 1A with HON. KEN EASTERLING

      ARRAIGNMENT scheduled for 02/12/2019 01:30 PM in room 1A with HON. KEN EASTERLING
        2/12/2019 1:30:00 PM TRANSFERRED TO 7/5/2019 9:30:00 AM COURTROOM 1A[1A] HON. KEN EASTERLING

      PRELIMINARY HEARING scheduled for 01/03/2019 01:30 PM in room 1A with HON. KEN EASTERLING
        PD TO DO TRANSPORT ORDER

            Super Memo
             01/02/2019 COUNTER DEL SCH EV ENT 06/28/2019 1422 PM ******01/ 03/2019 Atty Present Attorney Present SCHUBERT,
             DAN ATTORNEY-PUBLIC ADVOCATE {FOR ASHLEY GRAHAM} Chg:1 Burglary, 2nd Degree; CIT#:8CX013663-1 ProbCause
             Found GJ{ BOGJ}


      PRELIMINARY HEARING scheduled for 12/13/2018 01:30 PM in room 1A with HON. KEN EASTERLING
        PD OFFICE TO DO TRANSPORT ORDER

            Super Memo
             12/13/2018 Transfer Crt COURT ROOM 1A with EASTERLING, HON. KEN 01/03/2019 01:30 PM PRELIMINARY HEARING{PD
             TO DO TRANSPORT ORDER }


      PRELIMINARY HEARING scheduled for 12/11/2018 01:30 PM in room 1A with HON. KEN EASTERLING

            Super Memo
             12/11/2018 TRANSFER CRT COURT ROOM 1A WITH EASTERLING, HON. KEN 12/13/2018 01:30 PM PRELIMINARY
             HEARING{PD OFFICE TO DO TRANSPORT ORDER} ADD DOCUMENT CRIMINALD OCKET{PDOFFICE TO DO TRANSPORT
             ORDER}


      ARRAIGNMENT scheduled for 12/05/2018 08:31 AM in room 1A with HON. KEN EASTERLING

            Super Memo
             12/05/2018 PUB DEF APPNTD CA SH BOND $2,500.00 SECURED 100%BOND TRANSFER CRT COURTROOM 1A WITH
             EASTERLING, HON. KEN 12/11/ 2018 01:30 PM PRELIMINARY HEARINGADDDocument CRIMINAL DOCKET{COMM ATTY TO
             DO TRANSPORT ORDER }


      MOTION NOT REQUIRING HEARING in room ****** with HON. DOUGLAS J. GROTHAUS
        M

            Motions
             • MOTION - OTHER filed on 10/09/2018 by D
             MOTION TO TRANSPORT




12/7/2023                                                       84997-7                                                       3
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      MOTION NOT REQUIRING HEARING in room ****** with HON. DOUGLAS J. GROTHAUS
         MOTION TO TRANSPORT

            Super Memo
             12/04/2018 Counter Del Sch Ev ent 12/28/2018 1422 PM ******


            Motions
             • MOTION - OTHER filed on 11/20/2018 by D
             MOTION TO TRANSPORT



    Images                                                                                     18-F-01796

       CITATION filed on 09/27/2018    Page(s): 1

       CRIMINAL COMPLAINT/WARRANT/SUMMONS filed on 10/04/2018                Page(s): 1

       CRIMINAL DOCKET filed on 07/05/2019          Page(s): 1

       CITATION filed on 07/09/2019    Page(s): 1

       CRIMINAL DOCKET filed on 08/05/2019          Page(s): 1

       RECEIPT filed on 12/09/2019    Page(s): 0

       CRIMINAL DOCKET filed on 12/16/2019          Page(s): 1

       RECEIPT filed on 01/29/2020    Page(s): 0

       RECEIPT filed on 02/04/2020    Page(s): 0

       RECEIPT filed on 02/19/2020    Page(s): 0

       CRIMINAL DOCKET filed on 02/21/2020          Page(s): 1

       RECEIPT filed on 01/27/2021    Page(s): 0

       CRIMINAL DOCKET filed on 08/20/2021          Page(s): 2

       CRIMINAL DOCKET filed on 08/20/2021          Page(s): 1

       CRIMINAL DOCKET filed on 10/01/2021          Page(s): 2

       CRIMINAL DOCKET filed on 10/01/2021          Page(s): 1

       RECEIPT filed on 10/01/2021    Page(s): 0

       CRIMINAL DOCKET filed on 11/12/2021          Page(s): 2

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       RECEIPT filed on 11/12/2021    Page(s): 0

       CRIMINAL DOCKET filed on 01/14/2022          Page(s): 2

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       CITATION filed on 03/31/2022    Page(s): 1

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       CRIMINAL DOCKET filed on 04/04/2022          Page(s): 2

       CRIMINAL DOCKET filed on 08/12/2022          Page(s): 3


                                                   **** End of Case Number : 18-F-01796 ****




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